                                       Case 2:17-cv-00306-TC Document 1 Filed 04/19/17 Page 1 of 1

    JS 44 (Rev. 08116)
                                                                                     CIVIL COVER SHEET
    lne JS 44 civil cover sheet and the inf~rrnation contained herein .neither replace nor supple~enl the fil.ing and service of p!eadinlls or other papers as required by law, cim..'J>I as
    provided by local rules of court. This form, approved by the Jud1ctal Conference of the U mted States 10 September 1974, 1s req111red for the use of the Clerk of Couri for the
    purpose of initiating the civil docket sheet. (SEE lNSTRUCI'IONS ON NEXT' PAGE OF THTS FORMJ

    I. (a) PLAINTIFFS                                                                                                       DEFENDANTS
     MICHAEL H, PETERSON, and alf others similarly situated,                                                              NATIONWIDE MUTUAL INSURANCE CO.

         (b)   County ofResidence ofl'irst Listed Plaintiff l:l.l:llt LaJ<~fOl:lf'lty~Utah                                  County ofRcsidence of First Listed Defendant                     . F111nJ<lin C()U,nty-Ohio
                                (l::XCEP1' IN U.S. PLAINTIFF CASES)                                                                                 (IN U.S. l'LA!NTIFF CASES ONLY)
                                                                                                                            NOTE:       IN LAND CONDllMNATJON (' ASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND L'llVOLVED.

         ( C) Attorneys (Firm Name, Address, and TP!ephone Numhe~)                                                           Attorneys afl'1rown)

    Andrew W. Stavros, Michele Anderson-West, Adam Clark, Austin Egan,
    Stavros Law, P.C. 11693 S. 700 E. #200, Draper, UT 84020

    II. BASIS OF JURISDICTION {l'/aeean "X"inOneBoxOnl]~                                                   UT. CITIZENSHIP OF PRINCIPAL PARTIES(Plocea11 "X"lnOneBoxforPlaintiff
    ::JI    U.S. Gowmmcut                  ~3       Federal Question
                                                                                                                       (For Diversity   c,,..,   Onl)~                                            011d One Box for Defemionl)
                                                                                                                                                        PU'      Dli:F                                            PTJI     DEF
               Plaintiff                              (U,S. GQw'l'frmenl Nol u Party)                            Citizen ofThis State                   fl I     0 I        lncOl]JOralcd or Principal Pl•«        '.'l 4   0 4
                                                                                                                                                                               of Busines1 In Thi1 State

    CJ 2    U.S. Government               04 Diversity                                                          . C'itizcn of Another State             02       a          lnwrporated and l'rincipal l'lace      o        as
               Defendant                             (Indicate Ciflzemhip of Partf<;r in //em Ill)                                                                            of Business In Another State

                                                                                                                 Citizen or Sul>ject of a               ::i 3    a          Foreign Nation                         n   6    n   6
                                                                                                                   Forei nC'oun
    IV NATURE OF SUIT (Plau an ")("In One Box Onlv)                                                                                                         Click here for: Nature .,f Suit Code Dcscriotfons.
I                                                                      ....   ~'"'                                                               'l'V                M&                               m·-~u
                                                                                                                                                                                                                                    I

    n   I IO lnsuran<e                        PERSONAL INJURY                     PERSONAL INJURY                n 625 Drug Related Seizure                0 422 Appcal 28 USC 158              n   375 False Claims Act
    0 !20Morinc                          :i   310 Aitplane                    n   365 Pm<onal lujUT)' -                of Property 21 use RR 1             0 423 Withdrnw•l                     ::J 376 Qui Tarn (31 USC
    O !30 Miller Act                     CJ   315 Airplane Product                    Product Liol>ility         O 6900ther                                      28 USC 157                             3729(a))
    a   14-0 ;-<;gotieble lnstrumeut              Liability                   n   367 H•alth Care/                                                                                              (J 400 Stale Reapportionment
    0 150 Recovery of Overpayment n           320 A.,aull Libel &                     Phannace:utical                                                                                           ::J 410 Antitrust
            & Eoforccment of Judgmc-nt            Slander                             Penonal lnjl!J)'                                                     0 820 Copyiights                     0 430 Banks and Banking
    ::J 151 Medicore Act               0      330 Federal Employers'                  Product Liobilily                                                    0 830Potent                          0 450 Comn1orce
    rJ 152 Recovery of Defaulted                  Liability                   n   368 Asbe•tos Personal                                                    n 840 TrademaJt                      n   460 Deportation
            Student Losns
            (Excludes Veterans)
    n 153 Recovery of Overpayment
                                       0      340 Marine
                                       0 345 Marine Product
                                                Li•bility
                                                                                      Injury Product
                                                                                      Liability                     l.&~•K

                                                                                PERSONAL PROPERTY ""710 Fair Labor Stondardo                               n
                                                                                                                                                                --    ,.,
                                                                                                                                                              861 IDA (1395!!)
                                                                                                                                                                                       .        LI 470 Racketeer Influenced and
                                                                                                                                                                                                       Corrupt Organizations
                                                                                                                                                                                                n 480 Consumer Credit
            ofVc'll:ran'• Benefits     0 3 SO Motor Vchicle                   0 370 Other Fraud                Act                                         0 862 Black Lung (923)               LI 490 Cable/Sat TV
    0 I 60 Stocklmldors• Sui IS        0 3SS Motor Vehicle                    0 371 Trnth in Lending   0 720 Labor/Management                              :J 863 DIWC/DIWW (405(g))            () 850 S«:urities/Commoditiegf
    :J 190 Other Contract                      Product Liability              0 380 Other Penioool             Relations                                   0 864 SSID Title XVI                         Exchange
    ii 195 Contract Product Liability '.1 360 Other P"1'llonal                       Property Damage   n 740 Railway Labor Act                             n 865 RSI (405(g))                   n   890 Other Statutory Actions
    0 196 Franchise                            lnjtry                         0 385 Property Dan:ago   CJ 7Sl Family and Medical                                                                ('J 891 Agricultural Ae!I
                                       ::J 362 Personal Injury -                     Product Liability         L""voAc!                                                                         0  893 Envirawnental Mattcri
                                                 Medical Mal1>raaU,,,                                  n 790 Oth<:r Labor Litigation                                                            n  895 Freedom oflnfonnation
I         REAL                                 ClVll.. RIGHTS                  PRISONER PETITIONS 0 791 Employee Retirement                                  FEDERAL TAX SUITS                          Aet
    0 210 umd Condemnation               0 440 Other Civil Ri11hts               H•l>eas C-Orpu:              lncon1c Security Act                         0 870 Taxes (U.S. Plaintiff         ::J 896 Arbitration
    CJ 220 Foreclosure                   0 441 Voting                         0 463 Alien Detainee                                                                   or Defert<lant)           :J 899 Administrative Procedure
    :'.J 230 Rent Lessc & f\icctment     Cl 442 Employment                    n   510 MOlions to Vacate                                                    O 871 IRS-Third Party                       Act/Review or Appeal of
    0 240 Torts tu Land                  n 443 llousing/                             Sentence                                                                        26 use 7609                       Agency Deci•ion
    0 l45 Tort Product Liability                Acromrnodatlons               0 S30 General                                                                                                    ::1 950 Constitutionality of
    n 290 All Other Roal Property        Cl 44S Amer. w1Dillabilities -       0 535 Death Penally                        UWJOUG.KAUON                                                                  Srote Statutes
                                                Empl<.>yment                      Oth~r:                        n    462 Naturalization Application
                                         11 446 Amer. w/Disabilities -        n  540 Mondamus & Other           n    465 Other Immigration
                                                Other                         LI 550 Civil Rights                        Actions
                                         0 448 Education                      0 555 Prison Condition
                                                                              LI 560 Civil Detain«·
                                                                                     Conditions of
                                                                                     Confinement

V. ORJGfN (Plure"" "X" lu 011e Bo.< Only)
):!( I Original                0 2 Removed from               a    3      Remanded from                 0 4 Reinstated or           0    5 Tnmsferr•"<l from
                                                                                                                                                        0 6 Multidistrict                                0 8 Multidistrict
           Proceeding              State Court                            Appellate Court                   Reopened                          Another District  Litigation -                                    Litigation -
                                                                                                                                              s ec!M            Transfer                                        Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite juriMl/ctiona/ stlltulJI• unles• liiverslty}:
                                               29   u.s.c. §216{b
VI. CAUSE OF ACTION                           1-B-r-ie""'f-de-s-cn-·p""'u"'"·o-n-of_,c_a._\u-sc-:- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                               Collective Action Complaint for failure to pay overtime wages.
VII. REQUESTED IN
     COMPLAINT:
VIII. REI,,ATED CASE(S)
                        CJ CHECK IF THIS IS A CLASS ACTION
                            UNDER RULE23, F.R.Cv.P.                                                        "'   v,.,,., cc.ifr-eel
                                                                                                                     DEMANDS                                           CHECK YES only if demanded in complaint:
                                                                                                                                                                       JURY DEMAND:                 :ti!( Yes      0 No

                          (See instn1clions):
      IFANY                                   NPGB
DATE                                                                              SIGNA'!URE OF ATI'ORNEY OF RECORD
                                                                                                                                                 Case: 2:17-cv-00306
04/19/2017                                                                     Michele Anderson-West                                             Assigned To : Campbell, Tena
FOR ot'FICE ust ONLY                                                                                                                             Assign. Date: 4/19/2017
        RECEIPT#                       AMOUNT                                        APPLYING IFP                                                Description: Peterson v Nationwide
                                                                                                                                                 Mutual Insurance
